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                            THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


AbbVie Inc.,

                   Plaintiff,                               Civil Action No. 1:23-cv-02836

           v.                                               Hon. Jorge L. Alonso

Payer Matrix, LLC                                           Hon. Magistrate Young B. Kim

                   Defendant.


                AMENDED DECLARATION OF VALARIE HAYS IN SUPPORT OF
                 ABBVIE INC.’S MOTION FOR PRELIMINARY INJUNCTION

           I, Valarie Hays, declare under penalty of perjury that the following is true and correct:

           1.      I am a partner at the law firm of Arnold & Porter Kaye Scholer LLP (“Arnold &

Porter”). I represent Plaintiff AbbVie Inc. (“AbbVie”) in this matter.

           2.      I submit this declaration in support of AbbVie’s Motion for Preliminary Injunction

and the Supporting Memorandum of Law (hereinafter referred to as “the brief”) in the above-

captioned matter. Except as otherwise stated herein, this declaration is based upon my personal

knowledge.1

           3.      Attached as Exhibit 1 is a transcript of the promotional video “The Specialty Drug

Dilemma”         appearing      on    Payer     Matrix’s     website     (last   visited    Oct.   4,   2023),

https://payermatrix.com. The video was preserved by a vendor at Arnold & Porter’s direction.




1
    The gaps in the exhibits are intentional due to reducing exhibit volume prior to filing .
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The transcript was prepared by TransPerfect Legal Solutions.2 This document has been produced

with the Bates numbers AbbVie00003446-48.

           4.      Attached as Exhibit 2 is a copy of the slide deck used by Michael Jordan, Payer

Matrix’s Chief Business Officer, during the webinar called “Managing Healthcare Spending:

Cutting         Edge    Programs       for    Cost     Reduction,”      YOUTUBE        (June     30,    2020),

https://www.youtube.com/watch?v=gbLfl28KylE. It is a true and correct copy of the slide deck

that Arnold & Porter collected from this website, with the exception of Arnold & Porter adding

page numbers to the document and highlighting key portions. 3 This document has been produced

with the Bates numbers AbbVie00003403-20, but the native, color version has been filed.

           5.      Attached as Exhibit 3 is a transcript of the video called “Webinar: Managing

Healthcare Spending: Cutting Edge Programs for Cost Reduction” and posted by Risk Strategies

on June 30, 2020 on YouTube, https://www.youtube.com/watch?v=gbLfl28KylE. The video was

preserved by a vendor at Arnold & Porter’s direction. The transcript was prepared by TransPerfect

Legal Solutions. This document has been produced with the Bates numbers AbbVie00003631-69.

           6.      Attached as Exhibit 4 is a copy of the brochure called “Specialty Drug Cost

Management Service (Payer Matrix)” (last visited October 4, 2023), https://bit.ly/3My0ZVC. It

is a true and correct copy of the brochure that Arnold & Porter collected from this website, with

the exception of Arnold & Porter highlighting portions. This document has been produced with

the Bates number AbbVie00003421, but the native, color version has been filed.




2
 Arnold & Porter reserves the right to make corrections and modifications to all transcripts of recordings
that are attached as exhibits to this declaration. Additionally, for certain exhibits, Arnold & Porter has used
excerpts of larger documents that have been produced by/to Payer Matrix, LLC (“Payer Matrix”).

3
    For certain exhibits, Arnold & Porter has highlighted the portions referenced in the brief for ease of use.
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          7.       Attached as Exhibit 5 is a copy of Plan Sponsor No. 2’s memoranda introducing

the Payer Matrix program (last visited October 4, 2023), https://bit.ly/3BOilbP                        &

https://bit.ly/3qcLkmO.4 It is a true and correct copy of the memoranda that Arnold & Porter

collected from this website, with the exception of Arnold & Porter highlighting portions. This

document has been produced with the Bates numbers AbbVie00003449-59, but the native, color

version has been filed.

          8.       Attached as Exhibit 6 is a copy of a now-deleted flyer called “Pharmacy Payer

Matrix Program, Save on Specialty Medications With Carve-Out Solution” (last visited May 2,

2023),          https://beonbrand.getbynder.com/m/7a467c3674bb8a5f/original/REG-706627-21-OR-

FLYER-Payer-Matrix-Employer.pdf. It is a true and correct copy of the flyer that Arnold & Porter

collected from this website on or about February 2023, with the exception of Arnold & Porter

highlighting portions.         This document has been produced with the Bates number

AbbVie00003460, but the native, color version has been filed..

          9.       Attached as Exhibit 7 is a transcript of the podcast interview called “Strategies for

Managing Specialty Drug Costs with Sherri Tetachuck” and posted by Benefits Pro on Jan. 20,

2021, http://bit.ly/3FL5Dgq. The video was preserved by a vendor at Arnold & Porter’s direction.

The transcript was prepared by TransPerfect Legal Solutions. This document has been produced

with the Bates numbers AbbVie00003432-3445.

          10.      Attached as Exhibit 8 is a copy of the Payer Matrix Program Overview as it appears

on the website of Plan Sponsor No. 1 (last visited October 4, 2023), bit.ly/3ZMHwoJ. It is a true

and correct copy of the Program Overview that Arnold & Porter collected from this website, with




4
    Uniform Resource Locators (URLs) were shortened with the help of link management platform Bitly.
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the exception of Arnold & Porter highlighting portions. This document has been produced with

the Bates numbers AbbVie00003428-31, but the native, color version has been filed.

       11.     Attached as Exhibit 9 is a copy of Plan Sponsor No. 4’s website introducing the

Payer Matrix program (last visited October 4, 2023), https://bit.ly/43jUnRk. The remainder of

Exhibit 9 is a now-deleted benefits guide describing the Payer Matrix program (last visited May

24, 2023), previously collected by Arnold & Porter. These documents are true and correct copies

of pages on the website that Arnold & Porter collected, with the exception of Arnold & Porter

highlighting portions.     These documents have been produced with the Bates numbers

AbbVie00003422-27, but the native, color version has been filed.

       12.     Attached as Exhibit 10 is a copy of Plan Sponsor No. 6’s 2022 plan documents and

summary plan description introducing the Payer Matrix program (last visited October 4, 2023),

bit.ly/3OAPzmk. It is a true and correct copy of the plan documents and summary plan that Arnold

& Porter collected from this website, with the exception of Arnold & Porter highlighting portions.

This document has been produced with the Bates numbers AbbVie00003399-3402, but the native,

color version has been filed..

       13.     Attached as Exhibit 11 is a copy of Plan Sponsor No. 7’s summary of drug

coverage introducing the Payer Matrix program (last visited October 4, 2023), bit.ly/43rG1hX. It

is a true and correct copy of the summary that Arnold & Porter collected from this website, with

the exception of Arnold & Porter highlighting portions. This document has been produced with

the Bates numbers AbbVie00003397-98, but the native, color version has been filed.

       14.     Attached as Exhibit 12 is a copy of Plan Sponsor No. 8’s employee benefits guide

introducing the Payer Matrix program (last visited October 4, 2023), https://bit.ly/3oAuXQy. It is

a true and correct copy of the guide that Arnold & Porter collected from this website, with the


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exception of Arnold & Porter highlighting portions. This document has been produced with the

Bates numbers AbbVie00003394-96, but the native, color version has been filed.

       15.     Attached as Exhibit 13 is a copy of Plan Sponsor No. 3’s plan and summary plan

description introducing the Payer Matrix program (last visited October 4, 2023),

https://bit.ly/3MuFHb9. It is a true and correct copy of the plan and summary plan description that

Arnold & Porter collected from this website, with the exception of Arnold & Porter highlighting

portions. This document has been produced with the Bates numbers AbbVie00003389-91, but the

native, color version has been filed.

       16.     Attached as Exhibit 14 is a copy of Plan Sponsor No. 9’s plan summary introducing

the Payer Matrix program (last visited October 4, 2023), https://bit.ly/41YFAKF. It is a true and

correct copy of the plan summary that Arnold & Porter collected from this website. This document

has been produced with the Bates numbers AbbVie00003392-93, but the native, color version has

been filed.

       17.     Attached as Exhibit 15 is a copy of Plan Sponsor No. 5’s benefits guide introducing

the Payer Matrix program (last visited October 4, 2023), https://bit.ly/3LJKnun. It is a true and

correct copy of the benefits guide that Arnold & Porter collected from this website, with the

exception of Arnold & Porter highlighting portions. This document has been produced with the

Bates numbers AbbVie00003387-88, but the native, color version has been filed.

       18.     Attached as Exhibit 16 is a copy of Plan Sponsor No. 10’s letter introducing the

Payer Matrix program (last visited October 4, 2023), https://bit.ly/3oAv6DA. It is a true and

correct copy of the letter that Arnold & Porter collected from this website, with the exception of

Arnold & Porter highlighting portions. This document has been produced with the Bates numbers

AbbVie00003376-77, but the native, color version has been filed.


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       19.     Attached as Exhibit 17 is a copy of Plan Sponsor No. 11’s letter introducing the

Payer Matrix Program (last visited October, 2023), https://bit.ly/3oqt6hd. It is a true and correct

copy of the letter that Arnold & Porter collected from this website, with the exception of Arnold

& Porter highlighting portions. This document has been produced with the Bates numbers

AbbVie00003374-75, but the native, color version has been filed.

       20.     Attached as Exhibit 18 is a copy of Plan Sponsor No. 12’s benefits guide

introducing the Payer Matrix Program (last visited October 4, 2023), https://bit.ly/3WxaeKa. It is

a true and correct copy of the benefits guide that Arnold & Porter collected from this website, with

the exception of Arnold & Porter highlighting portions. This document has been produced with

the Bates numbers AbbVie00003372-73, but the native, color version has been filed.

       21.     Attached as Exhibit 19 is a copy of Plan Sponsor No. 13’s benefits guide

introducing the Payer Matrix Program (last visited October 4, 2023), https://bit.ly/3omirnZ. It is

a true and correct copy of the benefits guide that Arnold & Porter collected from this website, with

the exception of Arnold & Porter highlighting portions. This document has been produced with

the Bates numbers AbbVie00003370-71, but the native, color version has been filed.

       22.     Attached as Exhibit 20 is a copy of Plan Sponsor No. 14’s benefits guide

introducing the Payer Matrix Program (last visited October 4, 2023), https://bit.ly/3ODPdeH. It is

a true and correct copy of the benefits guide that Arnold & Porter collected from this website, with

the exception of Arnold & Porter highlighting portions. This document has been produced with

the Bates numbers AbbVie00003378-80, but the native, color version has been filed.

       23.     Attached as Exhibit 21 is a copy of Plan Sponsor No. 15’s benefits guide

introducing the Payer Matrix Program (last visited October 4, 2023), https://bit.ly/3oxLkNZ. It is

a true and correct copy of the benefits guide that Arnold & Porter collected from this website, with


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the exception of Arnold & Porter highlighting portions. This document has been produced with

the Bates numbers AbbVie00003381-84, but the native, color version has been filed.

         24.        Attached as Exhibit 22 is a copy of a now-deleted excerpt from a page of Payer

Matrix’s website (last visited May 24, 2023), https://payermatrix.com/.             Specifically, the

highlighted language no longer appears on Payer Matrix’s website. The website was preserved by

a vendor at Arnold & Porter’s direction. The excerpt is a true and accurate copy of a portion of

the website page, with the exception of Arnold & Porter highlighting portions. This document has

been produced with the Bates number AbbVie00003385, but the native, color version has been

filed.

         25.        Attached as Exhibit 23 is a copy of the now-deleted Payer Matrix Specialty Drug

List     (as   of     December     2022),   PAYER       MATRIX   (last   visited   May   24,   2023),

https://payermatrix.com/pmdruglist. It is a true and correct copy of the drug list that Arnold &

Porter collected from this website, with the exception of Arnold & Porter highlighting portions.

This document has been produced with the Bates number AbbVie00003386, but the native, color

version has been filed.

         26.        Attached as Exhibit 24 is a copy of a sample Payer Matrix potential cost savings

report for a prospective client, with AbbVie drugs included. It is a true and correct copy of

documents produced by Payer Matrix with the Bates numbers PMX0321215-217, with the

exception of Arnold & Porter highlighting portions.

         27.        Attached as Exhibit 25 is a copy of a Payer Matrix email communication with a

prospective client. The email attaches some of Payer Matrix’s program implementation template

documents. It is a true and correct copy of documents produced by Payer Matrix with the Bates

numbers PMX0190522-33, with the exception of Arnold & Porter highlighting portions.


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       28.    Attached as Exhibit 26 is a copy of a Payer Matrix email communication

concerning revisions that a Payer Matrix executive made to a client’s Summary of Benefits

Coverage. It is a true and correct copy of documents produced by Payer Matrix with the Bates

numbers PMX0170613-41.

       29.    Attached as Exhibit 27 is a copy of a Payer Matrix email communication with a

prospective client. The email attaches some of Payer Matrix’s program implementation template

documents, including the template for its clients’ new Summary Plan Description (PMX0148792-

93). It is a true and correct copy of documents produced by Payer Matrix with the Bates numbers

PMX0148773-93, with the exception of Arnold & Porter highlighting portions.

       30.    Attached as Exhibit 28 is a copy of a Payer Matrix email communication

concerning a Request for Proposal from a prospective client and Payer Matrix’s draft responses.

It is a true and correct copy of documents produced by Payer Matrix with the Bates numbers

PMX0171276-84.

       31.    Attached as Exhibit 29 is a copy of Payer Matrix’s employee training presentation

on its program’s override process. It is a true and correct copy of a document produced by Payer

Matrix with the Bates number PMX072268. The native, color version has been filed.

       32.    Attached as Exhibit 30 is a copy of a Payer Matrix email communication, dated

February 6, 2023, about Payer Matrix’s strategy to address AbbVie’s updated eligibility terms for

the myAbbVie Patient Assistance Program (“PAP”). It is a true and correct copy of documents

produced by Payer Matrix with the Bates numbers PMX0110794-803, with the exception of

Arnold & Porter highlighting portions.

       33.    Attached as Exhibit 31 is a copy of excerpts of a Payer Matrix training presentation

provided to new employees. The document metadata appended to the end of Exhibit 31 indicates


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that this exhibit was last modified on March 23, 2023. Exhibit 31 is a true and correct copy of

excerpts of a document produced by Payer Matrix with the Bates number PMX0367638. The

native, color version has been filed, with Arnold & Porter highlighting portions.

       34.      Attached as Exhibit 32 is a copy of one slide of the training presentation attached

as Exhibit 31, specifically a slide containing a welcome script to use with new patients, with an

excerpt from the slide enlarged for ease of reading. It is a true and correct copy of one page of a

document produced by Payer Matrix with the Bates number PMX0367638.

       35.      Attached as Exhibit 33 is a group exhibit of sample letters that Payer Matrix

submitted to AbbVie on behalf of its clients’ members that Payer Matrix was seeking to enroll in

AbbVie’s PAP. Payer Matrix refers to these letters internally and with its clients as Benefit

Clarification Letters. It is a true and correct copy of documents produced by both AbbVie and

Payer Matrix.

       36.      Attached as Exhibit 35 is a copy of a Payer Matrix email communication from July

2023 showing the number of PAP applications it submitted to AbbVie and got approved in 2023

as of the date of the email. It is a true and correct copy of a document produced by Payer Matrix

with the Bates numbers PMX0172789-95, with the exception of Arnold & Porter highlighting

portions.

       37.      Attached as Exhibit 35(a) is a copy of selected columns from a document produced

by Payer Matrix with the Bates numbers PMX0417745-50 showing 63 patients Payer Matrix

successfully enrolled in AbbVie’s PAP in 2023. These patients were referenced in the email

subject line of Exhibit 35. Arnold & Porter has highlighted on the spreadsheet those patients who

were admitted into the PAP for coverage of Humira, Rinvoq, or Skyrizi.




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       38.     Attached as Exhibit 36 is a copy of a Payer Matrix email communication about its

clients’ members’ using co-pay cards to obtain prescription fills through Affordable Scripts Inc.

It is a true and correct copy of a document produced by Payer Matrix with the Bates numbers

PMX0114784-86.

       39.     Attached as Exhibit 37 is a group exhibit of sample patient files referencing Payer

Matrix’s assistance with obtaining prescription fills for them with the use of co-pay cards after the

submission of PAP applications to AbbVie. It is a true and correct copy of PAP applications and

Payer Matrix call logs produced by Payer Matrix and AbbVie, with the exception of Arnold &

Porter highlighting portions.

       40.     Attached as Exhibit 38 is a copy of a Payer Matrix email communication in which

a third party attaches a previous Payer Matrix presentation wherein Payer Matrix refers to AbbVie

on a slide entitled “We partner with top manufacturers.” It is a true and correct copy of documents

produced by Payer Matrix with the Bates numbers PMX0122905-58.

       41.     Attached as Exhibit 39 is a copy of a Payer Matrix communication attaching a

Payer Matrix statement in response to the Complaint filed in this action. It is a true and correct

copy of documents produced by Payer Matrix with the Bates numbers PMX0173387-88.

       42.     Attached as Exhibit 40 is a copy of a Payer Matrix communication attaching a

potential plan savings report, dated May 3, 2023, that Payer Matrix sent to a prospective client,

which includes AbbVie Drugs in a section at the bottom of the report with a footnote. It is a true

and correct copy of a document produced by Payer Matrix with the Bates number PMX0179729-

32.




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       43.     Attached as Exhibit 41 is a sample of the standard service agreement that Payer

Matrix enters into with its clients. It is a true and correct copy of a document produced by Payer

Matrix with the Bates numbers PMX0148979-9000.

       44.     Attached as Exhibit 42 is a copy of a Payer Matrix email communication

concerning Payer Matrix’s reaction to AbbVie’s change in eligibility requirements for admission

to its PAP. It is a true and correct copy of a document produced by Payer Matrix with the Bates

numbers PMX0195209-15.

       45.     Attached as Exhibit 44 is a copy of a Payer Matrix email communication with a

prospective client. It is a true and correct copy of documents produced by Payer Matrix with the

Bates numbers PMX0148702-04, with the exception of Arnold & Porter highlighting portions.

       46.     Attached as Exhibit 45 is a group exhibit of documents showing Payer Matrix’s

interactions with six patients who were enrolled into AbbVie’s PAP between May and July 2023.

It includes true and correct copies of call notes and emails produced by Payer Matrix, with Arnold

& Porter highlighting portions. It also includes excerpts of metadata contained within Payer

Matrix’s production.

       47.     Attached as Exhibit 46 is a copy of a Payer Matrix email communication with the

most recent email in the chain dated March 22, 2023, and relates to employee outreach. It is a true

and correct copy of a document produced by Payer Matrix with the Bates numbers PMX0181588-

597, with the exception of Arnold & Porter highlighting portions.

       48.     Attached as Exhibit 51 is a copy of a Payer Matrix email communication

concerning the preparation of one-page information flyers related to comparisons between AbbVie

and non-AbbVie drugs. It is a true and correct copy of a document produced by Payer Matrix with

the Bates numbers PMX0164005-10, with the exception of Arnold & Porter highlighting portions.


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       49.     Attached as Exhibit 52 is a group exhibit of documents related to Payer Matrix’s

involvement in 2023 with a patient whose health care provider recently transmitted a fax to AbbVie

attaching a letter from Payer Matrix. It is a true and correct copy of documents produced by Payer

Matrix and AbbVie, with the exception of Arnold & Porter highlighting portions.

       50.     Attached as Exhibit 53 is a group exhibit of documents evidencing Payer Matrix’s

involvement in 2023 with a patient who asked about her options if she was not approved for

AbbVie’s PAP. It is a true and correct copy of documents produced by Payer Matrix.

       51.     Attached as Exhibit 54 is a group exhibit of sample Payer Matrix statements to

AbbVie and to third-parties about AbbVie that AbbVie contends are false. It is a true and correct

copy of documents produced by Payer Matrix, with the exception of Arnold & Porter highlighting

portions.

       52.     Attached as Exhibit 55 is a group exhibit of examples of instances in which white

out was used to cover up Payer Matrix representatives’ names and contact information on

completed PAP applications. It is a true and correct copy of documents produced by Payer Matrix

and AbbVie, with the exception of Arnold & Porter highlighting portions.

       53.     Attached as Exhibit 56 is a group exhibit of records showing calls that were placed

to AbbVie’s PAP team by Payer Matrix employees in which AbbVie contends the employees were

impersonating health care professionals. It is a true and correct copy of documents produced by

Payer Matrix and AbbVie, with the exception of Arnold & Porter highlighting portions.

       54.     Attached as Exhibit 57 is a group exhibit of records that AbbVie contends

demonstrates Payer Matrix’s efforts to conceal its involvement in AbbVie’s PAP. It is a true and

correct copy of documents produced by Payer Matrix, with the exception of Arnold & Porter

highlighting portions.


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       55.     Attached as Exhibit 58 is a Teams chat between Payer Matrix employees, dated

February 11, 2023. It is a true and correct copy of a document produced by Payer Matrix with the

Bates numbers PMX0399986-87, with the exception of Arnold & Porter highlighting portions.

       56.     Attached as Exhibit 60 is a copy of a Payer Matrix email communication that

discusses, among other things, true exclusions and Payer Matrix speaking to doctors about

switching their clients’ members prescriptions to a non-AbbVie drug before discussing it with the

members. It is a true and correct copy of a document produced by Payer Matrix with the Bates

numbers PMX0344958-71, with the exception of Arnold & Porter highlighting portions.

       57.     Attached as Exhibit 61 is a copy of documents concerning a September 2023 PAP

renewal application from a patient whose application had been submitted by Payer Matrix in 2022.

It is a true and correct copy of documents produced by Payer Matrix and AbbVie, with the

exception of Arnold & Porter highlighting portions.

       58.     Attached as Exhibit 62 is a copy of a Payer Matrix email communication with the

most recent email in the chain dated January 29, 2023, concerning Payer Matrix’s reaction to an

AbbVie PAP application denial. It is a true and correct copy of a document produced by Payer

Matrix with the Bates numbers PMX0198183-85, with the exception of Arnold & Porter

highlighting portions.

       59.     Attached as Exhibit 63 is a copy of a Payer Matrix email communication dated

February 3, 2023, concerning Payer Matrix’s reaction to learning about AbbVie’s updated Patient

Terms of Participation on the PAP application forms. It is a true and correct copy of a document

produced by Payer Matrix with the Bates numbers PMX0150995-97, with the exception of Arnold

& Porter highlighting portions.




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       60.     Attached as Exhibit 65 is a true and correct copy of Payer Matrix’s Responses and

Objections to AbbVie’s First Set of Expedited Interrogatories, dated August 16, 2023, and verified

by Jennifer Hoefner, Executive Vice President, Operations, at Payer Matrix.

       61.     Attached as Exhibit 66 is a group exhibit of patient records showing Payer Matrix’s

involvement with their PAP applications after April 12, 2023. It is a true and correct copy of

documents produced by Payer Matrix and AbbVie, with the exception of Arnold & Porter

highlighting portions.

       62.     Attached as Exhibit 67 is a true and correct copy of excerpts of the Rule 30(b)(6)

deposition of Payer Matrix’s designee Jennifer Hoefner, dated September 19, 2023, with the

exception of Arnold & Porter highlighting portions.

       63.     Attached as Exhibit 68 is a group exhibit of examples of PAP applications faxed

by Payer Matrix to patients without the Patient Terms of Participation included. It is a true and

correct copy of documents produced by Payer Matrix.

       64.     Attached as Exhibit 69 is a copy of a letter from advocacy groups addressed to

Payer Matrix regarding its identification as a “patient advocacy” company (last visited October 8,

2023), https://bit.ly/3tp0dUW). It is a true and correct copy of the letter that Arnold & Porter

collected from this website.     This document has been produced with the Bates numbers

AbbVie00024621-23.

       65.     Attached as Exhibit 70 is a group exhibit of Payer Matrix call log records showing

overrides for members with household incomes that exceed the PAP income limits for eligibility.

It is a true and correct copy of Payer Matrix call logs produced by Payer Matrix, with the exception

of Arnold & Porter highlighting portions.




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       66.     Attached as Exhibit 71 is a true and correct copy of excerpts of the Rule 30(b)(6)

deposition of AbbVie’s designee Anne Najjar, dated September 29, 2023. with the exception of

Arnold & Porter highlighting portions.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.




 Dated: October 11, 2023                         /s/ Valarie Hays

                                                 Valarie Hays
                                                 ARNOLD & PORTER KAYE SCHOLER LLP
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                                                 Chicago, Illinois 60602-4321
                                                 valarie.hays@arnoldporter.com
                                                 Telephone: (312) 583-2440
                                                 Facsimile: (312) 583-2360




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                           Exhibit 1
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                           Exhibit 2
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Webinar: Managing Healthcare Spending: Cutting Edge Programs for Cost Reduction
j\lSK Ri sk Strategies
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 140 views Jun 30, 2020
 Risk Strategies Employee Benefits Monthly Webinar.

 This month our focus will be on clients with a self-funded medical program, or considering self-funding. We will discuss two products which can save you significant dollars on your inpatient medical and
 specialty pharmacy spend.




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Program Features
  Provides an advanced plan-sponsored advocacy service
  •   Works with existing PBM and health Plans (TPA, carriers) using the approved
      specialty drug list.
  •   Access all forms of alternative funding
  Utilizes a structural approach to accessing alternate forms of
  funding
  •   Reimbursement Care Coordinators(RCC's) are responsible for coordinating
      services that are independent of pharmaceutical benefit management
      providers.
  •   RCC's work closely with members during the eligibility process.
  •   Maintains prior authorization for appropriate care.
  Members experience a normal specialty pharmaceutical
  experience
  • RCC's are clinicians - pharmacy technicians, pharmacists, and nurses
  • Specialty prescription timelines remain the same.
  • Clinical review and assessment by pharmacy is maintained.
  No Fees Unless Payer Matrix Achieves Savings

                                                                                                  Matrix


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Significant Potential Savings through Alternate
Funding for Top Specialty Brands
   Top 10 Specialty Brands:

                                        Pre-Payer Matrix            Plan Cost with
           1                                              2
   Rank        Brand Name                   Plan Cost               Payer Matrix 3          Plan Savings
   1           Humira                         $6,524                    $1,957                 $4,567
   2           Enbrel                         $5,589                    $1 ,677                $3,912
   3           Revlimid                       $19,480                     $5,844               $13,636
   4           Cosentyx                       $7,839                      $2,352               $5,487
   5           Stelara                        $24,403                     $7,321               $17,082
   6           Dupixent                       $3,324                       $997                $2,327
   7           Tecfidera                      $7,703                      $2,311               $5,392
   8           lbrance                        $14,421                     $4,326               $10,095
   9           Biktarvy                       $3,184                       $955                $2,229
   10          Genvoya                        $3,163                       $949                $2,214



   Notes
   1. Based on total alternate funding secured for TTM May 2020.
   2. Based on average net claim cost per 30-day supply.
   3. Assumes 30°/4 cost avoidance fee.                                                              Payer- Matrix

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                          Exhibit 21
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                          Exhibit 22
Payer.   Matrix                                                                                                                                                                                   p
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                                                                                                         PATIENTS        PARTNERS        EMPLOYERS          TECHNOLOGY    RESOURCES v   CONTACT




                                                           How we do it
                  High-Touch Care Management                                                          Care coordinators
                  Our team has decades of experience in specialty pharmacy,                           Our Care Coordinators are at the heart of our operation and
                  home infusion, and employee benefits management. We                                 work directly with members, plan sponsors, and any other
                  understand the unique needs of the specialty patient, as well                       vendors as required to complete program enrollment.
                  as how important it is to manage those complex
                                                                                                      We also maintain the prior authorizat ion process to ensure
                  conditions effectively. This helps you save money on benefits
                                                                                                      appropriate clinical care. As a result, members are not
                  and your employees maintain t heir clinical treatment plan.
                                                                                                      disrupted and always receive their medications. There is no
                                                                                                      interruption in supply, no requirements to change brands or
                                                                                                      dosing, the only difference is the source of t he medication, and
                                                                                                      of course the reduced cost.
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                          Exhibit 23
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                          Exhibit 24
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                          Exhibit 25
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                          Exhibit 26
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                          Exhibit 27
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                          Exhibit 28
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                          Exhibit 29
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                          Exhibit 30
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                          Exhibit 31
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                          Exhibit 32
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                          Exhibit 33
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                          Exhibit 35
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                      Exhibit 35(a)
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                          Exhibit 36
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                          Exhibit 37
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                          Exhibit 38
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                          Exhibit 39
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                          Exhibit 40
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                          Exhibit 41
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                          Exhibit 58
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                          Exhibit 60
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                          Exhibit 61
Case: 1:23-cv-02836 Document #: 113 Filed: 10/11/23 Page 147 of 177 PageID #:1861




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                          Exhibit 
Case: 1:23-cv-02836 Document #: 113 Filed: 10/11/23 Page 149 of 177 PageID #:1863




                          Exhibit 65
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                          Exhibit 66
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                          Exhibit 67
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                          Exhibit 68
Case: 1:23-cv-02836 Document #: 113 Filed: 10/11/23 Page 171 of 177 PageID #:1885




                          Exhibit 69
                  Case: 1:23-cv-02836 Document #: 113 Filed: 10/11/23 Page 172 of 177 PageID #:1886
  (~} AIMEDALLIANCE                                                             Arthritis                                               A autoimmune                                         BLEEDING '
                                                                                                                                                                                            DISORDERS .~••




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                                            GLOBAL AWARENESS LOCAL IMPACT




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               cancer
               alliance                 EVERY LIFE                                                  EPBDF
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FOUNDATION                                                                                                                                          TH E
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NATIONAL HEMOPHILIA FOUNDATION                                           ..                                                     \~\uJJ
            for all bleeding dfrorders
                               ,
                                                      A: Pac1f I~ Nor,hwest
                                                                 Bleeding Disorders                                             WPBDF                                STAC3.org
                                                                                                        August 17, 2023
        Payer Matrix
        1400 N. Providence Road
        Building 2, Suite 5000
        Media, PA 19063
        customerservice@payermatrix.com
        Via Electronic Email
        Re: Payer Matrix identifying itself as both a 'Patient Advocacy Company' and a 'Leading Patient
        Advocate' is untrue and misleading to consumers
        Dear Payer Matrix Leadership:
               The undersigned organizations are advocacy groups that represent patients across 34 organizations,
        representing 14 disease communities including Arthritis, Autoimmune disorder, Bleeding and Clotting disorders,
        Cancer, Cystic Fibrosis, Liver Disease, Lupus, Hepatitis, Hemophilia, HIV/AIDs, Neurological Conditions,
        Multiple Sclerosis, Psoriasis, Rare Disorders, and Spondylitis. We are writing to share our concerns regarding




                                                                                                                                                                                                             AbbVie00024621
         Case: 1:23-cv-02836 Document #: 113 Filed: 10/11/23 Page 173 of 177 PageID #:1887
Payer Matrix's recent self-classification as both a 'Patient Advocacy Company' as well as a 'Leading Patient
Advocate.' 1
        Patient advocacy groups are organizations that are developed to represent, support, and advocate on behalf
of patients, caregivers, and families living with rare, chronic, complex, or specific conditions. 2 These
organizations often retain 501(c)(3) or 501(c)(4) status designations as non-profit organizations. These
organizations aim to advocate on behalf of their community to ensure their voices, concerns, and stories, are
heard and responded to by actors within the health care system including, but not limited to, hospitals, health care
providers, employers, health insurers, legislatures, and regulators. Patients, caregivers, and consumers rely on
patient advocacy organizations to help them navigate the health care system and help ensure they can access their
necessary care and treatments. Managing a chronic illness and receiving a new diagnosis can be very challenging
experiences for individuals and their families, thus, patients need to have trusted organizations that they can tum
to and rely on to act in their best interest.
        Payer Matrix is not the type of organization described above; in fact, Payer Matrix profits each time it
successfully enrolls a patient in a patient assistance program (PAP). As such, we believe it is highly inappropriate
and misleading to consumers for Payer Matrix to classify itself as either a 'Patient Advocacy Company' or a
'Leading Patient Advocate.' Payer Matrix is a for-profit business representing the interest of employers and itself,
not patients. Payer Matrix's business model requires unwitting patients to share personal information such as
income, health status, and other personal data, so that Payer Matrix can enroll the patient in a PAP. Notably, these
programs are already available to patients without Payer Matrix's participation. Payer Matrix's complex process
often results in delaying patients' access to their treatments, forcing them to experience symptoms without relief,
and disease progression. Moreover, unlike traditional patient advocacy organizations that are patient-centered to
support patients' needs, preferences, and priorities, Payer Matrix mandates employees engage in this byzantine
process or lose coverage for their medication, thereby requiring the patient to be responsible for the full cost of
the drug. This demonstrates that Payer Matrix is a self-serving for-profit company, not a patient-centered
advocacy organization representing the needs, preferences, and priorities of patients, caregivers, and families.
        We strongly urge Payer Matrix to stop identifying as either a 'Patient Advocacy Company' or a 'Leading
Patient Advocate' to ensure patients properly understand that Payer Matrix advocates for employer cost savings
which lead to profits for Payer Matrix, not employees' health and access to treatments. Thank you for your
consideration of our letter.
       Please address any questions to Kim Czubaruk, Associate Vice President of Policy, CancerCare
(kczubaruk@cancercare.org) and Kollet Koulianos, Senior Payer Provider Consultant, National Hemophilia
Foundation (Kollet@3hbc.com).


Sincerely,
Aimed Alliance
Arthritis Foundation
Autoimmune Association
Bleeding Disorders Foundation of North Carolina
CancerCare
Colorectal Cancer Alliance
Community Liver Alliance


1
  Payer Matrix, Leading Patient Advocate Slams Abb Vies Moves to Deny Vital Drugs to Needy Patients, https://www.kget.com/business/press-
releases/cision/20230523PH07874/leading-patient-advocate-slams-abbvies-moves-to-deny-vital-drugs-to-needy-patients/.
2 Rare Beacon, What Are Patient Advocacy Groups, https://www.rarebeacon.org/rare-diseases/why-patient-groups-matter/ .




                                                                                                                               AbbVie00024622
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Crohn's & Colitis Foundation
CSNK2al Foundation
Cystic Fibrosis Research Institute
Eastern Pennsylvania Bleeding Disorders Foundation
EveryLife Foundation for Rare Diseases
Foundation for Sarcoidosis Research (FSR)
Hemophilia Council of California
Hemophilia Federation of America
HIV+Hepatitis Policy Institute
Infusion Access Foundation
Juju and friends CLN2 Warrior Foundation
Little Hercules Foundation
Lupus and Allied Diseases Association, Inc.
Lupus Foundation of America
Multiple Sclerosis Association of America
National Consumers League
National Hemophilia Foundation
National Niemann-Pick Disease Foundation
National Psoriasis Foundation
Pacific Northwest Bleeding Disorders Foundation
Patient Access Network (PAN) Foundation
Spondylitis Association of America
STAC3 .org
The AIDS Institute
The Akari Foundation
The Sumaira Foundation
Western Pennsylvania Bleeding Disorders Foundation




                                                                                  AbbVie00024623
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                                 CERTIFICATE OF SERVICE

       I, Valarie Hays, one of the attorneys for Plaintiff AbbVie Inc., hereby certifies that on

October 11, 2023, I caused the foregoing AMENDED DECLARATION OF VALARIE HAYS

IN SUPPORT OF ABBVIE INC.’S MOTION FOR PRELIMINARY INJUNCTION to be

filed through the CM/ECF system of the United States District Court for the Northern District

of Illinois thereby serving all counsel of record electronically.


                                                       By: /s/ Valarie Hays
                                                               Valarie Hays
